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 7                                                                 The Honorable Barbara J. Rothstein

 8                            UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF WASHINGTON
 9                                     AT SEATTLE

10   ZACHARY PILZ, et al.,                              NO. 3:21-cv-05735-BJR

11                          Plaintiffs,                 JOINT STIPULATION AND ORDER
                                                        GRANTING BRIEFING SCHEDULE
12           v.

13   JAY INSLEE, et al.,

14                          Defendants.

15
                                          I.     STIPULATION
16
            The Parties, by and through their attorneys of record, hereby stipulate and jointly request
17
     that the Court enter the attached proposed briefing schedule, as requested by the Court.
18
            DATED this 12th day of November 2021.
19
     ROBERT W. FERGUSON                                     ARNOLD & JACOBOWITZ PLLC
20   Attorney General

21   /s/ Andrew R.W. Hughes                                 /s/ Nathan J. Arnold
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24   Andrew.Hughes@atg.wa.gov                               Attorney for Plaintiffs

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     JOINT STIPULATION AND ORDER                        1               ATTORNEY GENERAL OF WASHINGTON
                                                                             Complex Litigation Division
     GRANTING BRIEFING SCHEDULE – NO.                                         800 5th Avenue, Suite 2000
     3:21-cv-05735-BJR                                                         Seattle, WA 98104-3188
                                                                                    (206) 464-7744
           Case 3:21-cv-05735-BJR Document 58 Filed 11/16/21 Page 2 of 4




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 6   Attorneys for Defendants

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     JOINT STIPULATION AND ORDER               2       ATTORNEY GENERAL OF WASHINGTON
                                                            Complex Litigation Division
     GRANTING BRIEFING SCHEDULE – NO.                        800 5th Avenue, Suite 2000
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                                                                   (206) 464-7744
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 1                                           II.      ORDER

 2         This Court, having considered the Parties’ Joint Status Report (Dkt. # 56) and reviewed the

 3   proposed briefing schedule therein, hereby ORDERS that the following briefing schedule is

 4   GRANTED.

 5   A.    Plaintiffs’ Motion for Preliminary Injunction (if any)

 6         •   If Plaintiffs intend to move for a preliminary injunction, they must do so by

 7             November 17, 2021, and may file a supplemental brief of up to 7 pages.

 8         •   Defendants may then file a supplemental brief limited to 7 pages by November 23,

 9             2021.

10         •   Plaintiffs will not receive a reply.

11         •   If Plaintiffs do not move for a preliminary injunction by November 17, 2021,

12             Plaintiffs’ request for a preliminary injunction will be denied as moot to the extent

13             this was requested in Plaintiffs’ previous Motion for Declaratory and Injunctive

14             Relief.

15   B.    Dispositive Motion(s)

16         •   Deadline for Defendants’ motion for judgment on the pleadings: November 18, 2021.

17         •   Deadline for Plaintiffs’ opposition to Defendants’ motion for judgment on the

18             pleadings (and cross-motions for summary judgment, if any): December 2, 2021.

19         •   Deadline for Defendants’ reply in support of their motion for judgment on the

20             pleadings (and opposition to Plaintiffs’ cross-motions for summary judgment, if any):

21             December 16, 2021.

22         •   Deadline for Plaintiffs’ reply in support of their cross-motions for summary

23             judgment, if any: December 23, 2021.

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     JOINT STIPULATION AND ORDER                       3             ATTORNEY GENERAL OF WASHINGTON
                                                                          Complex Litigation Division
     GRANTING BRIEFING SCHEDULE – NO.                                      800 5th Avenue, Suite 2000
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                                                                                 (206) 464-7744
           Case 3:21-cv-05735-BJR Document 58 Filed 11/16/21 Page 4 of 4




 1         IT IS SO ORDERED.

 2         DATED this 16th day of November, 2021.

 3                                                   _______________________________
 4                                                  BARBARA J. ROTHSTEIN
                                                    UNITED STATES DISTRICT JUDGE
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     JOINT STIPULATION AND ORDER                4             ATTORNEY GENERAL OF WASHINGTON
                                                                   Complex Litigation Division
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